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                UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF TEXAS
                    FORT WORTH DIVISION

  ROBERT ROSS,

       Plaintiff.

  v.                                             No. 4:22-cv-0333-P

  ASSOCIATION OF PROFESSIONAL FLIGHT
  ATTENDANTS, ET AL.,

       Defendant.

                        FINAL JUDGMENT
     This Final Judgment is issued pursuant to Federal Rule of Civil
  Procedure 58. In accordance with the Order issued this same day (ECF
  No.4):
     It is ORDERED, ADJUDGED, and DECREED that this civil
  action is DISMISSED without prejudice.
     The Clerk shall transmit a true copy of this Final Judgment to the
  parties and the case shall be closed.

       SO ORDERED on this 20th day of April, 2022.



                                 ______________________________
                                 Mark T. Pittman
                                 United States District Judge
